               Case 2:10-cr-00292-LKK Document 57 Filed 09/22/11 Page 1 of 2


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     Federal Defender
2    MATTHEW C. BOCKMON, Bar #161566
     Assistant Federal Defender
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5
     Attorney for Defendant
6    ROBERT ROBBIE SCOTT, JR.
7
8                                 IN THE UNITED STATES DISTRICT COURT
9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )             NO. CR-S-10-292 LKK (GGH)
                                           )
12                     Plaintiff,          )
                                           )             STIPULATION AND ORDER TO
13         v.                              )             MODIFY SPECIAL CONDITIONS                          OF
                                           )             RELEASE
14   ROBERT ROBBIE SCOTT, JR.,             )
                                           )
15                     Defendants.         )             Judge: Gregory G. Hollows
                                           )
16   _____________________________________ )
17          It is hereby stipulated and agreed between the parties, Kyle Reardon, Assistant United States Attorney,
18   attorney for plaintiff, and Matthew C. Bockmon, Assistant Federal Defender, attorney for defendant ROBERT
19   ROBBIE SCOTT, JR., that the special conditions of pretrial release set forth in this case on August 4, 2010,
20   be modified as follows:
21          Pretrial Services supervision, and all conditions relating to Pretrial Services, are deleted.
22   Specifically, Condition #1, #2, #3, #5, #9, #11, #12, and #13.
23          All other conditions of release remain in effect.
24   ///
25   ///
26   ///
27   ///
28   ///
               Case 2:10-cr-00292-LKK Document 57 Filed 09/22/11 Page 2 of 2


1           The U.S. Pretrial Services Office and the U.S. Attorney’s Office have no objection to the proposed
2    modification.
3    Dated: September 21, 2011
4                                                         Respectfully submitted,
5                                                         DANIEL J. BRODERICK
                                                          Federal Defender
6
                                                          /s/ Matthew C. Bockmon
7                                                         MATTHEW C. BOCKMON
                                                          Assistant Federal Defender
8                                                         Attorney for Defendant
                                                          ROBERT ROBBIE SCOTT, JR.
9
10   Dated: September 21, 2011                            BENJAMIN B. WAGNER
                                                          United States Attorney
11
                                                          /s/ Matthew C. Bockmon for
12                                                        KYLE REARDON
                                                          Assistant U.S. Attorney
13
14
15                                                    ORDER
16          UPON GOOD CAUSE SHOWN, and the stipulation of all parties, it is ordered that defendant
17   ROBERT ROBBIE SCOTT, JR.’S, conditions of release, be modified as follows: Pretrial Services
18   supervision, and all conditions relating to Pretrial Services, are deleted. Specifically, Condition #1, #2,
19   #3, #5, #9, #11, #12, and #13. All other conditions of release remain in effect.
20   IT IS SO ORDERED.
21   Dated: September 21, 2011
22                                                 /s/ Gregory G. Hollows
                                                  UNITED STATES MAGISTRATE JUDGE
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